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Case 2:23-bk-20083   Doc 1    Filed 05/23/23 Entered 05/23/23 13:02:23   Desc Main
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Case 2:23-bk-20083   Doc 1    Filed 05/23/23 Entered 05/23/23 13:02:23   Desc Main
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Case 2:23-bk-20083   Doc 1    Filed 05/23/23 Entered 05/23/23 13:02:23   Desc Main
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